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            IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF MICHIGAN
____________________________________
                                    )
SPEECH FIRST, INC.,                 )
                                    )
                                    )
               Plaintiff,           )
                                    ) Civil No. 4:18-cv-11451-LVP-EAS
v.                                  ) Hon. Linda V. Parker
                                    ) Mag. Judge Elizabeth A. Stafford
MARK SCHLISSEL, et al. ,            )
                                    )
                                    )
               Defendants.          )
____________________________________)

    DEFENDANTS’ UNOPPOSED MOTION TO STAY OBLIGATION
      TO ANSWER OR OTHERWISE RESPOND TO COMPLAINT

       Defendants respectfully request that the Court stay their obligation to answer or

otherwise file a responsive pleading with respect to Plaintiff’s Complaint until Plaintiff’s

pending Motion for a Preliminary Injunction has been fully litigated. Plaintiff does not

oppose this request.

       1.     Plaintiff filed its Complaint on May 8, 2018, and a Motion for a

Preliminary Injunction on May 11, 2018. The Complaint and Motion raise the same

constitutional challenges to policies and programs of the University of Michigan. In

particular, Plaintiff argues that policies prohibiting harassing and bullying are

unconstitutionally vague and overbroad and that the University’s Bias Response Team

violates the First Amendment.



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      2.     Defendants filed their opposition to Plaintiff’s Motion for a Preliminary

Injunction on June 15, 2018, responding to Plaintiff’s constitutional challenges. The

opposition included a memorandum and five supporting declarations.

      3.     Plaintiff will file a reply in support of its Motion by June 29, 2018.

      4.     Meanwhile, the deadline for Defendants to answer or other respond to

Plaintiff’s underlying Complaint is currently July 10, 2018.

      5.     In the interest of efficiency, Defendants respectfully request that their

obligation to answer or otherwise respond to Plaintiff’s underlying Complaint be stayed

until Plaintiff’s Motion has been fully litigated, including the resolution of any appeals

by either party from this Court’s ruling on the Motion.

      6.     Defendants’ counsel have conferred with Plaintiff’s counsel and Plaintiff

does not oppose this request.

                                                Respectfully Submitted,

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                                         Attorneys for Defendants


Dated: June 18, 2018




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            IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF MICHIGAN
____________________________________
                                    )
SPEECH FIRST, INC.,                 )
                                    )
                                    )
               Plaintiff,           )
                                    ) Civil No. 2:18-cv-11451-LVP-EAS
v.                                  ) Hon. Linda V. Parker
                                    ) Mag. Judge Elizabeth A. Stafford
MARK SCHLISSEL, et al. ,            )
                                    )
                                    )
               Defendants.          )
____________________________________)

    DEFENDANTS’ BRIEF IN SUPPORT OF THEIR UNOPPOSED
   MOTION TO STAY OBLIGATION TO ANSWER OR OTHERWISE
                RESPOND TO COMPLAINT

      For the reasons stated in Defendants’ Unopposed Motion to Stay Obligation to

Answer or Otherwise Respond to Complaint, Defendants respectfully request that the

Court grant their motion.

                                            Respectfully Submitted,

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Dated: June 18, 2018




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                   STATEMENT PURSUANT TO L.R. 7.1(a)

      Counsel for Defendants conferred with counsel for Plaintiff. Plaintiff does not

oppose the relief sought in this motion.




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                           CERTIFICATE OF SERVICE

      This is to certify that on June 18, 2018, a copy of the foregoing was electronically

filed with the Clerk of the Court using the ECF system which will send notification of

such filing to the attorneys of record.


                                             /s/ Amy B. McKinlay
